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ORIGINAL

IN THE UNITED STATES DISTRICT COURT __
FOR THE NORTHERN DISTRICT OF TEXAS: —— 0) 5) G2)

DALLAS DIVISION ok
UNITED STATES OF AMERICA NO. 3:19-CR-349-K
V.
ROMELIO RIVERON
FACTUAL RESUME

 

In support of Romelio Riveron’s plea of ouilty to the offense in Count One of the
Indictment, the defendant, Romelio Riveron; the defendant’s attorney, Michael P.
Gibson; and the United States of America (the government) stipulate and agree to the
following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Indictment, charging a violation
of 18 U.S.C. § 1956(a)(1)(A)Q) and (h), that is, conspiracy to launder monetary
instruments, the government must prove each of the following elements beyond a
reasonable doubt:

First: that the defendant and at least one other person made an agreement
to commit the crime of money laundering (promotion), in violation of 18
U.S.C. § 1956(a)(1)(A)();

Second: that the defendant knew of the unlawful purpose of the agreement
and joined in it willfully, that is, with the intent to further the unlawful

purpose. !

 

' Based on Fifth Circuit Pattern Jury Instruction (Crim.) 2.15A (2015). See United States v. Guillermo
Balleza, 613 F.3d 432, 433 n.1 (Sth Cir. 2010); Whitfield v. United States, 543 U.S. 209 (2005); United
States v. Fuchs, 467 F.3d 889, 906 (Sth Cir. 2006) (citing United States v. Meshack, 225 F.3d 556, 573—
74 (Sth Cir.2000)). :

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The government must also prove beyond a reasonable doubt the object of the
conspiracy, to wit, laundering of monetary instruments, in violation of 18 U.S.C. §
1956(a)(1)(A)(i). The elements of that offense are:

First: That the defendant knowingly conducted or attempted to conduct a
financial transaction;

Second: That the financial transaction or attempted financial transaction
involved the proceeds of a specified unlawful activity, namely interference
with commerce by robbery, in violation of 18 U.S.C. §§ 1951(a) and 2;

Third: That the defendant knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity; and

Fourth: That the defendant intended to promote the carrying on of the
specified unlawful activity.’

STIPULATED FACTS:

 

Beginning on or about August 19, 2014, and continuing through in or around mid-
July 2015, the exact date being unknown, in the Dallas Division of the Northern District
of Texas (NDTX) and elsewhere, the defendant, Romelio Riveron (“defendant’’), did
knowingly combine, conspire, and agree with other persons known and unknown to
commit an offense against the United States in violation of 18 U.S.C. § 1956, to wit: to
knowingly conduct and attempt to conduct a financial transaction affecting interstate and
foreign commerce, which involved the proceeds of a specified unlawful activity, that is,

interference with commerce by robbery, in violation of 18 U.S.C. §§ 1951(a) and 2, with

 

* Based on Fifth Circuit Pattern Jury Instruction (Crim.) 2.76A (2015).

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the intent to promote the carrying on of said specified unlawful activity, that is,
interference with commerce by robbery, and that while conducting and attempting to
conduct such financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity in violation of 18
U.S.C. § 1956(a)(1)(A)(Q).

Defendant admits that he purchased and laundered stolen jewelry, gold, and
diamonds (hereinafter “stolen items”), from co-conspirators, who were involved in Hobbs
Act robberies. Defendant further admits that he knew at the time that he purchased and
laundered the stolen items that they had been obtained during the course of robberies.
Indeed, defendant admits that he purchased and laundered stolen items from the
following robberies: (1) August 2014 (Bedford, Texas, robbery), (2) September 2014
(The Village, Oklahoma, robbery); (3) October 2014 (Charlotte, North Carolina,
robbery); and (4) July 2015 (Houston, Texas, robbery). Defendant further admits that
these robberies affected interstate and foreign commerce as contemplated by 18 U.S.C. §
195 1(a).

Defendant admits that he travelled to different locations around the United States
to launder the stolen jewelry, gold, and diamonds. In the four instances identified above,
the robbers called defendant to inquire as to whether he was interested in purchasing the
stolen items. Given his interest, defendant travelled to meet the co-conspirators. Once
defendant met the co-conspirators, he weighed the stolen items, analyzed their worth, and

negotiated their purchase. Once a purchase price had been reached, defendant provided

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an upfront cash payment to the co-conspirators. Defendant provided the remaining cash
payments at a later date to the co-conspirators. Some of these cash payments were
provided to aiders and abettors and co-conspirators in the country of Colombia.

Defendant admits that he purchased the stolen items below market value. This
was by design because defendant was able to turn a profit once he resold the stolen items.
The co-conspirators also benefited in that they were able to launder and convert the stolen
items to cash. Defendant admits that no documentation and certifications were
exchanged during the transactions.

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In sum, defendant admits that he and his co-conspirators caused a total loss of

$2,561,112.41, and that number sets the total loss as it relates to the United States

Sentencing Guidelines. The breakdown of the approximate loss amount is as follows:

(1) $500,000 for the August 2014 robbery; (2) $614,438.77 for the September 2014

robbery; (3) $446,673.64 for the October 2014 robbery; and (4) $1,000,000 for the July

2015 robbery.

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AGREED TO AND SIGNED this doth day of { 6o(vw7 , 2020.

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ROMELIO RIVERON
Defendant

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CHAEL P. GIBSON
Attorney for Defendant

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